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                    (Alphabetical Order)               02llLl20Ls       ordered             onOLl27l2ot7      ordered        onOtl23l2OL9      1s0205      148895
                                                                                                                                  YES
29th Street 1991 DVD
                                                                                                                                  YES                         1
3:15 1985 DVD
    Million Ways to Die 1986 DVD                           YES            61                     YE5             3                YES
3
A Breed    Apart 1984 DVD                                                                        YES             1,               YES

A Christmas Carol 1971 DVD (ChuckJones'..)                 YES            754                    YES            72                YES             6          35
A Dangerous Life 1988 DVD                                                                        YES             2                YES                         9

A Fieht for Jennv 1986 DVD                                                                       YES             2                YES

A Friendship in Vienna 1988 DVD                            YES             5                     YES             5                YES                        18
A Home of our Own 1975 DVD                                 YES                                   YES                              YES                         3

A Mom for Christmas 1990 DVD                                                                                                      YES

A Muppet Family Christmas 1987 DVD                                                                                                YES

A Question of Honor 1982 DVD                               YES                                   YES                              YES                         2
                                                                         1599                    YES            391              YES*   *                    48
A Town like Alice 1981 DVD                                 YES

A Winner Never Quits 1986 DVD                              YES            33                     YES            30                YES                        32
A Woman at War 1991 DVD                                    YES                                                                    YES

Abraham Lincoln 1930 DVD                                                                                                          YES

Action at Anguar 1945 DVD                                                                                                         YES

Africa Screams 1949 DVD                                                                                                           YES

After the Beep 1998 DVD                                                                                                           YES

Agent on lce 1986 DVD                                                                                                             YES

Alice's Restaurant 1968 DVD                                YES
All the Kind Strangers 7974 DVD                                                                                                   YES

Amerika 1987 DVD                                                                                 YES                              YES

Aneel and the Badman 1947 DVD                                                                                                     YES

Animal lnstincts 1992 DVD                                                                        YES                              YES                         3

Animalvmpics 1980 DVD                                                                            YES             3                YES

Annie O 1995 DVD                                                                                 YES            36                YES                         2

Assault and Matrimony 1987 DVD                             YES             1.                    YES                              YES                        10
Assault at West Point 1994 DVD                             YES            17                     YES             1                YES                         2

At Play ln the Fields of the Lord 1991 DVD                                                                                        YES

At War with the Army 1950 DVD                                                                                                     YES

Attack of the Giant Leeches 1959 DVD                                                                                              YES

Avenser X 1967 DVD                                         YES             3

Avensinq Force 1986 DVD                                    YES            52
Babes in Toyland 1986 DVD                                  YES            7726                   YES            745               YES            113
Ballad of Gregorio Cortez 1986 DVD                         YES            165                    YES             8                YES

Bare Essentials 1991 DVD                                                                         YES                              YES

leat the Devil 1953 DVD                                                                                                           YES                         7

Beautv and the Beast 1991 DVD                              YES



                                                                                 1of   9
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                  Title of Motion Picture
                                                      O2lttl2075      ordered
                                                                                                                             YES
            1935 DVD
                                                                                            YES
Ben 1972 DVD
                                                          YES           722                 YES                              YES
Blackout 1985 DVD
                                                          YES                                                                YES
      Man's Bluff 1992 DVD
                                                          YES           47                  YES                              YES
       Beach 1980 DVD
                                                                                            YES                              YES
Blood Debts 1983 DVD
                                                          YES                                                                YES
Blood Salvage 1990 DVD
                                                                                                                             YES
Blue           1987 DVD
                                                                                                                             YES
Breaking All the Rules 1985 DVD
   de of Boogedy 1987 DVD                                 YES           49
                                                          YES                                                                YES
        Malone 1976 DVD
                                                          YES           498                 YES            106               YES
    ied Alive 1990 DVD
                                                          YES           161                 YES            37                YES         29
    ied Alive 111997 DVD
                                                          YES                                                                YES
      1989 DVD
      ll: The Arena of Death 1994 DVD                     YES

Care  of  Game Animals: Field to Freezer DVD              YES

Casualties 1997 DVD                                       YES            1,

                                                          YES           373                 YES            227               YES
Catch me if you can 1989 DVD
                                                          YES            75                 YES                              YES
Chantilly Lace 1993 DVD
                                                                                            YES                              YES
           to Keep Her 1980 DVD
                                                          YES           1160                YES            292              YES**
Chiefs 1983 DVD
                                                          YES           1064                YES            1,82              YES
    istmas Eve 1985 DVD
                                                                                            YES                              YES
        Land 1991 DVD
                                                          YES                                                                YES
       to Coast 1980 DVD
                                                          YES                                                                YES
       ne Blues 1983 DVD
                                                                                                                             YES
                 1995 DVD
             1986 DVD                                     YES           475
                                                          YES            59                 YES             10               YES
Crowhaven Farm 1970 DVD
                                                          YES            6                                                   YES
Cupid 1997 DVD
                                                                                            YES                              YES
           Steele's         from Nam 1993 DVD
                                                                                                                             YES
       Currents Volume One 1992 DVD
                                                          YES            40                                                  YES
   rk Horse 1992 DVD
   rk Nieht of the Scarecrow 1981 DVD                     YES
                                                                                            YES                              YES
             of the Mind 1969 DVD
      of the Beast 1995 DVD                                YES
                                                                                            YES                              YES
Deadly Encounter 1982 DVD
                                                           YES           82                 YES                              YES
                      1992 DVD
                                                           YES                                                               YES
Deadtime Stories 1986 DVD
                                                                                                                             YES
 Death Moon 1978 DVD


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                                                                                              YES                                 YES
                                                            YES
    Death Squad 1974 DVD
                                                            YES          233                  YES                6                YES                            13
    Diary of a Mad Housewife 1970 DVD
                                                            YES
    Dinosaur lsland 1994 DVD                                                                                                                                      5
                                                                         15                   YES                                 YES
                                                             YES
    Disney's Halloween Treats DVD
                                                             YES          1,                  YES                                 YF!                             7
    Donald Duck's ScarY Tales 1996 DVD
                                                                                                                                  YES
    Dot and Keeto 1986 DVD                                                                                                                                        1
                                                                                              YES                                 YES
lOouble Exposure 1994 DVD                                                                     YES                                 YES                             6
                                                             YES         27
lDr. Bethune 1993 DVD                                                                                                                                             3
I                                                                                                                                 YES
lDragon World 1994 DVD                                                                                                            YES
lDr"r. Demon 1988 DVD                                                                         YES               L2               YES*   *                         1
lrlvis and Me 1988 DVD                                       YES
                                                                                              YES                2                YES                             4
                                                             YES          4
lErprurs to Terror 1979 DVD                                                                                                       YES                             6
                                                                                              YES                3
lFaeries 1981 DVD
                                                                                                                                  YES
lrast areak 1979 DVD
                                                             YES         537                  YES        I       6s               YES                            100
I r.t.iVislor']
                1984 DVD
                                                             YES          9                   YES                1,               YES                             4
lrinal npproach 1"991 DVD                                                                                                         YES
lrlnaiRound 1993 DVD                                                                                                                                              6
                                                                                              YES                                 YES
    Five Desperate lVom9n 1971 DVD
                                                                                                                                  YES
                                                             YES
    Flight of the Eagle 1982 DVD
                                                                                                                                  YES
    FM 1978 DVD
                                                             YES          64
    Force: Five 1981 DVD
            Amber 1947 DVD                                   YES          50
                                                                                              YES                2                YES                             2
                                                             YES           9
    Frankenstein &'Me 1996 DVD
                                                             YES
    Gentle Giant 1967 DVD
                                                                          23                  YES               716               YES                             6
                                                             YES
    Gleaming the Cube 1989 DVD
                                                                          1,4                 YES                8                YES
                                                             YES
    Goldengirl 1979 DVD
                                                                         158                  YES                10               YES                             30
                                                             YES
    Goliath Awaits 1981 DVD
                                                                                              YES                                 YES                             3
    Goodnight God Bless 1987 DVD
                                                                           3                   YES                                YES                             1
                  1984 DVD                                   YES
    G race
                                                                                                                                  YES
    Gran4 Tour: Disaster in Time 1992                                                                                                   **
                                                                                               YES                               YES                              1,4
                                                             YES          51
    Greqt Exprctations 1989 DVD
                                                             YES          73
     Green lce 1981 DVD
     Grey Fox 1982 DVD                                       YES          OSg
                                                                                                                                  YES
     Grim Prairie Tales 1990 DVD
                                                              YES         346                                                     YES
         burger The Motion Picture 1986 DVD
         lily Ever After 1990 DVD                             YES

                                                                       -is -                                                      YES                             19
                                                              YES
     H
     H
         Strung 1.991. DVD
         ,wood Hot Tubs 1984 DVD                              YES
                                                                                                                                   YES                    lz
                                                                                                                                   YES                    I

                Hot Tubs 2: Educatins Crvstal 1990 DVD        YES



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                                                                                                                                      YES
 Homewrecker 1992 DVD
                                                                    YES                               YES                             YES
 Honeymoon Horror 1982 DVD
 House in the Hills 1993 DVD                                        YES          26                   YES            1                YES                         6

 Hunter's Blood 1986 DVD                                            YES                               YES            6                YES                         2

 Hurricane 1937 DVD                                                 YES
                                                                                                                                      YES
 I Bury the Living 1958 DVD
                                                                    YES           8                   YES            2                YES                         3
 ln Love with an Older Woman 1982 DVD
 It came upon a Midnight Clear 1-984 DVD                            YES          431                  YES            772              YES             6          106
                                                                    YES          772                  YES            378              YES            2t          233
 It Happened One Christmas 1977 DVD
 Jack's Back 1988 DVD                                               YES           10
                                                                    YES                                               6               YES                         6
ltaituiro Rock 1988 DVD
           Back to oz 1974 DVD
lJourney                                                                                              YES            46               YES                        10
       Caterpillar 1984 DVD                                         YES          1,79
lraty                                                                             55                  YES            19               YES                        10
                                                                    YES
lretchVp Vampires 1995 DVD                                                                                                            YES
                                                                    YES           2                   YES
lKtt squao 1982 DVD                                                                                                  27               YES
                                                                    YES           22                  YES
lring of the Mountain 1981 DVD                                                                        YES                             YES
              1980 DVD
lLaboratory                                                                                                           3               YES                         2
  Ladykillers 1988 DVD                                              YES           L7                  YES
                                                                                                      YES                             YES
 Lies 1983 DVD
                                                                                                      YES             2               YES                         4
lLittt"   e   tori.,   Happy at Last 1982 DVD
                                                                    YES                               YES                             YES
Itone Shgt 1981 DVD                                                                                                                   YES                         4
                                                                                                      YES             1.
      With The Perfect Stranger 1986 DVD
lLove                                                                                                                                 YES
      With The Proper Stranger 1963 DVD                             YES
lLove                                                                                                                                 YES
 Loving You 1957 DVD
 Lucky Chances 1990 DVD                                             YES                               YES             5              YES**                        1,


 Man who had power over women 1970 DVD                              YES           4
                                                                                                                                      YES
 Massacre at Central Hig} 1976
                                                                     YES         217                  YES            113              YES                        45
 Masters of Menace 1990 DVD
                                                                                  9                   YES             3               YES                         6
 Meteoritesl 1998 DVD
                                                                                 332                  YE5            73               YES                        51
 Mindwalk 1991 DVD
                                                                                                      YES             7               YES             7          66
 Miracle Down Under 1987 DVD
                                                                                                                                      YES
 Mission Stardust 1968 DVD
 Mister Frost 1990 DVD                                                            5                   YES            17               YES                         17
                                                                  -YES            63
              tap leqs qY!
                                                                    YES
                                                                     YES         981                  YES            237              YES                        113
              on the Mayfk         1968 DVD
                                                                     YES         2071,                               348
 Mr. Boc               71986 DVD
                                                                     YES          407                 YES            106              YES             24
 Ms Scro               1997 DVD
                                                                     YES                                              1,              YES
 Murder
                                                                                                      YES             99              YES                         55
 Murder She Purred 1998 DVD

                                                                                         4of9
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                                                         Listed on   Number of             Listed on
                  Title of Motion Picture                             copies            LostMoviesFound
                   (Alphabetical Order)
                                                           YES                                YES
My Man Adam 1985 DVD
                                                                                              YES
Never Talk to Strangers 1986 DVD
      of the Living Dead 1968 DVD
                                                                                              YES
         re in Badham CountY 1976 DVD
                                                                                              YES
No           No Surrender 1986
Not My Kid 1985 DVD                                         YES
                                                            YES         66                    YES
One Million B.C. 1940 DVD
orion's Belt 1985 DVD
                                                            YES          1                    YES
Our Mother's Murder 1997 DVD
Out on a Limb 1987 DVD                                      YES         168
                                                                                              YES
    There 1995 DVD
              1988 DVD                                      YES          17

 ascali's lsland 1988 DVD                                   YES          1,

                                                                                              YES
           1981 DVD
                                                                                              YES
          1995 DVD
                                                                                              YES
Pet        1995 DVD
Peter the Great 1986 DVD                                    YES         101                   YES

           phing Fairies 1997 DVD
                                                            YES                               YES
Pirates 1986 DVD
                                                            YES                               YES
Poor Little Rich Girl 1936 DVD
Poor Little Rich Girl: The Barbara Hutton   1987 DVD        YES
                                                            YES                               YES
         Mantis 1983 DVD
                                                                                              YES
Prehysteria! 1993 DVD
                                                                                              YES
              2 1994 DVD
                                                                                              YES
              3 1995 DVD
Primo Baby 1990 DVD                                         YES

Private War of Major Benson 1955 DVD                        YES          24
Prom Nisht 1980
Rad 1986 DVD                                                YES         s38                   YES
                                                            YES                               YES
Raw            1984 DVD
                                                            YES                               YES
Red Headed Stranger 1986 DVD
        to Macon County 1975 DVD
           1992 DVD                                         YES

       of Locksley 1996 DVD                                 YES

     vs Wade 1989 DVD                                       YES          76
Rumpelstiltskin 1987 DVD
Saints and Sinners 1994 DVD                                 YES
                                                            YES                               YES
Scared Stiff 1987 DVD
                                                            YES                               YES
Secrets in the Attic 1992 DVD


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     Masnificent Gladiators 1984 DVD                     YES            1,4                YES            2                YES                         4
She Waits 1972 DVD                                       YES            2L                 YES            3                YES                         5

Short Time 1gg0 DVD                                      YES                               YES            2                YES                         7

Sidpkirks 1gq2 DVD                                                                         YES            2                YES                        13
Silent Madness 1984 DVD                                                                    YES                             YES                         1,


Sins 1989 DVD                                            YES            493                YES           253               YES                        83
Six Weeks 1982 DVD                                       YES           370                 YES           115               YES

Small Sacrifices 1989 DVD                                YES           610                 YES           T77               YES                        41
Smokv Mountain Christmas 1986   DVD                      YES           1750                YES           L778              YES            54          402
Snow Treasure 1968 DVD                                                                                                     YES

Son ofthe Morning Stql1991DVD                            LEq           lsq                                                 YES                        85
Sonp ofthe South 1945   DVD                              YES            6                                                  YES                        25
Sorrrdoush 1981   DVD                                    YES                                              1

Soeed Zone 1987   DVD                                    YES             7                                2                YES

Starflieht One 1983 DVD                                  YES            18
starshlo 1984 DVD                                        YES             1,                YES            3                YES

Stone Fox 1987 DVD                                       YES           1035                YES           331               YES                        164
stranse America: Unclassified 2000 DVD                                                                                     YES

Sudden Death 1985 DVD                                                                                                      YES                         2

Susie O 1996 DVD                                         YES            32                 YES            149              YES                        57
Ted Bundv 2002 DVD                                                                                                         YES

Terror on the Beach 1973 DVD                             YES                               YES            9                YES                         7
                                   DVD
Terror Stalks the Class Reunion 1992                     YES                               YES             1               YES

                                     DVD
The Adventures of Timmv the Tooth 1995                   YES

The Air Uo There 1994 DVD                                YES            18
The Amazins Mr X. 1948 DVD                                                                                                 YES

The Animal Kinsdom 1932 DVD                                                                                                YES

The Ann Jillian Story 1988 DVD                                                                                             YES

The Blue Yonder 1985 DVD                                                                                                   YES                         4
The Bovfriend School 1990 DVD                            YES

The China Lake Murders 1990 DVD                                                            YES            d                YES                         7

The Christmas Secret 2000 DVD                            YES            71,                YES            85               YES             4          22
The Colonv 1995   DVD                                    YES            71,                YES            26               YES                        19
The Dark Secret of Harvest Home 1978 DVD                                                                                   YES             2          54
The Dollmaker 1984 DVD                                   YES            303                YES            85               YES                        64
The Dove 1974 DVD                                        YES            2s9                YES            34               YES                        23
The Expert 1995DVD                                       YES            12                 YES                             YES                         4
                DVD
The Final Cut 1996                                       YES                               YES            4                YES                         5

                   DVD
The Forgotten One 1989                                   YES                               YES            16               YES                        18


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Thp Fnrtrrnp 1975 DVD                                         YES            6
Thp Ghnct nf Flioht 401 DVD                                   YES           1-62                    YES           25              YES                        27
Tha Girl< nf Hrrntingtnn Hnrrsc 197? DVD                                                            YES                           YES                         1,


Tho   G                                                                                                                           YES

Tha Grorf [\/lnm (uren l qqq D\/T)                                                                  YES           25              YES                        72
Thp Greaf Santa Clarrs Caoer 1978    DVD                      YES            30                     YES           L2              YES                         8

The Healine Force 1988     DVD                                YES             1,                    YES                           YES

The l-lii I ict 19RQ DVD                                      YES
                                                              YES             2                                                   YES
The   Hit List 1993 DVD
Thc   House of IJsher 1989 DVD                                YES             7                     YES            1,             YES

The   Kppn 1qR3   DVD                                         YES            60                     YES           78              YES                         2

The   t copnd nf Slppnv Hollow 1980 DVD                       YES           719                     YES           11.2            YES                        166
Tha   I iohtpnino lncidpnt 1qg1 DVD                                                                                               YES

Tha   I ittlo (hon nf Hnrrnrs 1960 DVt)                                                                                           YES

lThe Lone Hot Summer 1985     DVD                             YES            31                     YES           109            YES**                       29
lThe Man Who had Power over Women 1970 DVD                                                          YES            2              YES                         1

I.rho vidnisht Horrr 1985 llVl)                                                                                                   YES

                                                                              8
lThe Mutilator 1985 DVD                                       YES
Ith. ltinht Dracula Saved the World 1979 DVD                  YES            361             -      Yii-          31              YES                        38
Itho rvirht that Panicked America 1975 DVD                    YES             2
I.rho Htioht Thev Saved Christmas 1984 DVD                    YES            521,                   YES           612             YES             1          tt6
 The Pc:nrrt Rnttpr Sollrtion 1985 DVD                        YES            309                    YES           35              YES                        35
 The Perfect Daushter 1996 DVD                                                                                     4              YES

lThe Pooe Must Diet 1991 DVD                                  YES                                   YES                           YES

lThc Prrmnkin Who Couldn't Smile 1979    DVD                  YES            308                    YES           68              YES                        64
lThe Prrrnlp Peonle Fater 1988 DVD                            YES            774                    YES           199             YES             1,         115
 The Queen of Mean 1990 DVD                                   YES            83                                   33              YES                        13

 The Rainmaker 1997 DVD                                                                                                           YES

 The Reincarnation of Peter Proud 1975                                                              YES            2              YES

lThe Riooer 1997   DVD                                        YES            L4                     YES            3              YES                        1,4

 Thp Sccrptarv 1 gg5 DVD                                                                                                          YES

 Thc Silencp of thp Hams 1gg4 DVD                             YES             9                     YES            4              YES                        16
 The Stepford Wives 1975 DVD                                                                                                      YES

 The Tale of Rubv Rose 1987 DVD                               YES             1,                                                  YES                        10
lTho T.r., 1965 DVD                                           YES            1OO                    YES           65              YES                        49
lt;Hl;;;;;     ir,,nn".r christmas 1ee1 DVD                   YES                                   YES           57              YES             4          58
t;; ;;;;;;","".J,,,,,u,                                       YES            54                                    3

There     G    the Neiehborhood 1992 DVD                      YES             2                     YES            3              YES                        10

lriir o ru    Lir" 1se;tD                                     YES            11


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Ihunder Warrior 3 1988 DVD                                     YES             1                          YES             1       I          YES

lhunderground 1989 DVD
Irading Mom 1994 DVD
                                                               YES
                                                                                                          YES
                                                                                                                          7
                                                                                                                         12
                                                                                                                                  Ir         YES
                                                                                                                                             YES                         9
Trapped 1989 DVD                                               YES             6                          YES            1,1                 YES                        1,1,

Turtle Diary 1985 DVD                                                                                     YES             L                  YES                         6
Uninvited 1944 DVD                                             YES            244
Uptown Saturday Nieht 1974                                                                                                                   YES

Vanishing Act 1986 DVD                                         YES            18                          YES            43                  YES                        39
Warrior Queen 1987 DVD                                                                                                                       YES

Weekend War 1988 DVD                                 I         YES                                        YES             2                  YES                         2

Wild Thine 1987 DVD                                            YES             9
Will: G. Gordon Liddy 1982 DVD                                                                                            1,                 YES
Willard 1971 DVD                                                                                          YES            49
Witchfire 1986 DVD                                             YES                                        YES             4                  YES                         1

Youns Warriors 1983 DVD                                        YES            17                          YES             4                  YES                         1


The Christmas Gift                                             NO             964
Samson & Delilah 1949                                          NO             424
Nutcracker the motion picture                                  NO             163
Confessions of a Serial Killer                                 NO              6
Siegeof Firebase Gloria                                        NO             189
Fantastic Adventures of Unico 1981                             NO             34
ICome in Peace                                                 NO             83
Perfect Weapon 1991                                            NO             292
Nieht of the Grizzlv L966                                      NO             116
Quarterback Princess 1983                                      NO             1,1,

The Comic                                                      NO             24
The Halloween Tree                                             NO             13
Fire   with Fire 1986   DVD                                    NO              2
Scruffv 1980                                                   NO              2


Jane Fonda Original Workout 1-982 DVD                                                                     NO             236
Saltwater Moose 1988 DVD                                                                                  NO              1
Two Years Before the Mast 1946 DVD                                                              E         NO              4
Willard 1974 DVD                                                                                          NO             28


Eyes of Fire 1983 DVD
)har Lap - Hero to a Nation
                                                                                            ffi                                   r        NO** *
                                                                                                                                           NO***
                                                                                                                                                                         4
                                                                                                                                                                        1,1,

loman Polasnki's Pirates
                                                                                            I                                              NO***                         1,




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                                                                                                                                            NO**1                      a
The Magical Faeries

Total number of movies advertised per website                   183                                     163                                    242
Total number of movie copies ordered per website                                27,127                                                                               3,811
Total dollar sales per website                                               5427,244.54                               5162,690.16                           .47


Total dollar sales all three websites




[O***   - these   titles   were                                       identiiied. These numbers were not counted in the total numbers ordered or dollars.
                                                      ttttt                                                        I




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